Writ of certiorari dated October 10, 1947, on petition of Elizabeth Sippy to review the proceedings of the town board of the town of Ithaca in laying out a town highway.  Writ directed to William Nee, clerk of the town.
From a judgment of the circuit court affirming the action of the town board and dismissing the writ the petitioner appeals.
Certain resident freeholders of the town of Ithaca made application to the board of supervisors to have a highway laid out in accordance with ch. 80, Stats.  Notices of the meeting of the supervisors of the town to decide upon application were duly posted.  The notices stated that the meeting would be held on August 19, 1947, at 1:30 in the afternoon at the Ed Sippy residence.  At the time and place appointed the supervisors met and considered the matter.  The minutes of the clerk are as follows:
"The board did meet at the time and place designated in the notice all members were present.  They viewed the road and talked with the interested parties.  They then decided to think the matter over and meet again on August the 22d at 8 p.m. at town hall and make their decision.
                                      "W. H. Nee, Clerk

"The board did meet on the date stated above.  All members were present.  After much discussion Harold.  Huffman and Ed Kearney approved the road with some change in the description, and A. E. Peckham disapproved.
"They fixed the damages as follows:  $320 for fencing, $225 for land, and $500 for damages.                                      "W. H. Nee, Clerk"

An order of the board laying out the highway as a through road and provisions for a survey for the location thereof were made.  The damages in the sum of $1,045 were awarded to the heirs of Ed Sippy, deceased. *Page 425 
Relator is one of the heirs of Ed Sippy.  She is claiming that the action of the board of supervisors was void because the statutory provisions were not complied with:
(1) Because "the Ed Sippy residence" was insufficient notice to meet the statutory requirements as to place, and
(2) Because the award of damages to "the heirs of Ed Sippy, deceased" did not fulfil the statutory stipulation of an award to each owner.
The trial court in considering petitioner's application could not discover a good cause for overturning the proceedings of the town board.  The writ of certiorari is confined to bringing up the record to enable the court of review to determine whether the board proceeded within its jurisdiction.
We recognize that the board when taking property for highway purposes is acting under statutory authority; that if the requirements set out by statute are not complied with the proceedings are void.  Here, however, the statutes were complied with.
Petitioner's first objection to the proceedings is on the ground that the designation of the "Ed Sippy residence" as the place for the meeting of the town board did not comply with the statute. Sec. 80.05, Stats., states:
"On application made to supervisors . . . they shall make out a notice fixing therein a time and place at which they will meet and decide upon such application. . . ."
Clearly the purpose of the statute is to make sure that everyone interested in the action of the board knows where the meeting *Page 426 
will be so he can appear there.  The description of the place of meeting may be so indefinite and uncertain as to not constitute sufficient notice.  However, the designation "Ed Sippy residence" was sufficient.  It informed the people of the actual place of meeting, as the necessary information was given to interested parties where the meeting would be held. Mere informalities are disregarded.  La Crosse v. Melrose,22 Wis. 459.
The clerk's minutes of the board meeting state that they met and heard the interested parties.  Everyone concerned, including the appellant, was present at that meeting.  That Ed Sippy had actually moved to another dwelling would not be a controlling factor even if it appeared to be a fact.  It is a matter of common knowledge that houses may go by the name or reputation of an original or long-time owner after that person has ceased to live there.  The important thing is that the description did give notice of a place of the meeting possessing sufficient character and reputation to carry that information to the public interested.  In view of that it would be an unwarranted use of technicalities to hold that the description was not sufficient.
The second objection made by petitioner is based on sec. 80.09, Stats.  That section deals with the awarding of damages and provides in case the owner does not agree upon damages, the supervisors shall assess the damages, ". . . and shall make a written award specifying the sum awarded by them to each owner."  Relator's contention is that because the award of damages was made to "the heirs of Ed Sippy, deceased" the statutory stipulation of an award to each owner was not fulfilled. A discussion of the type of interest held by the heirs of Ed Sippy is not necessary here.  It is agreed by both parties that they are the owners of the property in question.  The complaint of the appellant evidently is that the sum of the damages was not divided among the heirs by the award of the town board.  There is nothing in the wording of the statute to *Page 427 
require such an interpretation of the board's duties.  The obvious purpose of that section is to make sure that the owner each parcel of land taken is awarded damages for his land. When a piece of land is owned by several persons as heirs or jointly the award of damages to the group is sufficient.  The statute in other words requires the board to assess the damages that will be caused to each owner of each tract of land.  The case cited by relator is to that effect.  McKee v. Hull, 69 Wis. 657,35 N.W. 49.  The statute does not require the board to determine the rights of each owner of an interest in a certain piece of land.  In Fuller v. Town Board, 193 Wis. 549,214 N.W. 324, this court said:  "If there be incumbrances upon the land, or different estates therein, the question of the apportionment of the total damage is not a matter committed to the town board, but must be determined in some proper proceeding instituted by the parties interested in the fund."  Although that case dealt with the claims of persons who were not actual owners of the property taken by the board, it is authority the proposition that the power of the board does not go beyond the assessment of damages to each tract of land.
We, therefore, conclude that the town board acted in strict compliance with the statutes and within its jurisdiction. There is no occasion for discussion of other points attempted to be made.
By the Court. — Judgment affirmed. *Page 428 